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                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND
                                 Greenbelt Division
__________________________________________
                                               )
Kilmar Armando Abrego Garcia, et al.,          )
                                               )
        Plaintiffs,                            )
                                               ) Civil Action No. 8:25-cv-00951-PX
v.                                             )
                                               )
Kristi Noem, et al.,                           )
                                               )
        Defendants.                            )
_________________________________________ )

            RENEWED MOTION FOR TEMPORARY RESTRAINING ORDER

       Plaintiff Kilmar Armando Abrego Garcia, by counsel, pursuant to Fed. R. Civ. P. 65(b)(1),

hereby renews his request for an emergency ex parte temporary restraining order, restraining

Defendants from continuing to financially support his further detention in El Salvador and ordering

Defendants to request that the Government of El Salvador return him to their custody. In support

of this motion, Plaintiffs respectfully represent as follows:

       1.      As set forth in the Complaint [Dkt. No. 1] and evidence attached thereto, Plaintiff

Abrego Garcia has an order from an immigration judge prohibiting Defendants from removing

him to El Salvador. Defendants could have sought to rescind that order and reopen removal

proceedings, but they did not. Instead, Defendants removed Plaintiff Abrego Garcia to El Salvador,

with no legal process or observance of required legal procedures whatsoever.

       2.      Not only was Plaintiff Abrego Garcia removed to El Salvador in direct violation of

federal law, but to make matters worse, Defendants are paying the government of El Salvador a

sum of money to incarcerate him in the infamous CECOT prison, where he is being subjected to

torture and an imminent risk of death.



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       3.      This Court admittedly has no jurisdiction over the Government of El Salvador and

cannot force that sovereign nation to release Plaintiff Abrego Garcia from its prison. But—because

that government is detaining Plaintiff at the direct request and pursuant to financial compensation

from defendants—this Court can order Defendants to immediately stop paying such compensation,

and to request that the Government of El Salvador return Plaintiff Abrego Garcia to their custody.

That is all Plaintiff asks for this Court order as emergency relief. If those efforts are unsuccessful,

the parties can brief any further remedial steps that may lie within this Court’s jurisdiction.

       4.      This action was filed at 9:21am Monday, March 24, 2025, less than 48 hours after

undersigned counsel was retained. Plaintiff filed a TRO request at 12:13pm the same day (Dkt.

No. 2). On March 25, 2025, at 10:30am, this Court denied the TRO request without prejudice,

solely on the basis that undersigned counsel had inadvertently omitted filing a proof of service on

counsel for Defendants. Counsel apologizes for the oversight.

       5.      Undersigned counsel hereby certifies that on March 24, 2025, he e-mailed a copy

of Dkt. Nos. 1-2, as well as all attachments thereto, to six Assistant U.S. Attorneys in the U.S.

Attorney’s Office for the District of Maryland, including Deputy Chief AUSA Tarra Deshields.

See Ex. A hereto. Counsel received no response.

       6.      In addition, undersigned counsel hereby certifies that immediately prior to filing

this pleading, counsel e-mailed those same six AUSA’s with a copy of Dkt. Nos. 4 and 5, and a

copy of this filing as well as all attachments thereto. See Ex. B hereto. As of the time of filing,

counsel has not yet received a response.

       7.      Plaintiffs are indigent and lack financial means to pay a TRO bond.

       8.      WHEREFORE, Plaintiffs, by counsel, respectfully renews their request that this

Court temporarily order Defendants to immediately stop paying compensation to the Government



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of El Salvador for the detention of Plaintiff Abrego Garcia, and to request that the Government of

El Salvador return Plaintiff Abrego Garcia to their custody, for such time until a preliminary

injunction motion can be briefed and decided by this Court.




Respectfully submitted,

//s// Simon Sandoval-Moshenberg                                    Date: March 25, 2025
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